Case 9:24-cr-80101-DMM Document 1 Entered on FLSD Docket 06/17/2024 Page 1 of 8




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                               24-8292-BER
                                     CASE NO.: ____________

 UNITED STATES OF AMERICA,

 vs.

 DANIEL CRUZ,

       Defendant.
 ___________________________________/

                                    CRIMINAL COVER SHEET

       1. Did this matter originate from a matter pending in the Northern Region of the United States
          Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)? No

       2. Did this matter originate from a matter pending in the Central Region of the United States
          Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? No

       3. Did this matter involve the participation of or consultation with now Magistrate Judge
          Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
          January 22, 2023? No

       4. Did this matter involve the participation of or consultation now Magistrate Judge Marta
          Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which concluded on
          March 5, 2024? No



                                                       Respectfully submitted,

                                                       MARKENZY LAPOINTE
                                                       UNITED ST
                                                              STATES ATTORNEY


                                                By:    ____________________________
                                                       __________
                                                       MARTON GYIRES
                                                                 G
                                                       ASSISTANT U.S. ATTORNEY
                                                       Court ID No.: A5501696
                                                       Southern District of Florida
                                                       500 South Australian Avenue, 4thFloor
                                                       West Palm Beach, FL 33401
                                                       Email: Marton.Gyires@usdoj.gov
                                                       Phone: 561-820-8711
     Case 9:24-cr-80101-DMM Document 1 Entered on FLSD Docket 06/17/2024 Page 2 of 8
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  Southern District
                                                __________ Districtof
                                                                    ofFlorida
                                                                      __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No. 24-8292-BER
                         Daniel Cruz,                             )
                                                                  )
                                                                  )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 June 12-14, 2024              in the county of            Palm Beach                       in the
     Southern          District of           Florida          , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C 2113(a)                              Bank robbery


                                                                                                                 TM

                                                                                                  Jun 15, 2024

         This criminal complaint is based on these facts:                                                              WPB

See Attached Affidavit




         ✔ Continued on the attached sheet.
         u



                                                                                             Complainant’s
                                                                                             C   l i    ’ signature
                                                                                                           i

                                                                                   Gregory Hoffman, FBI Special Agent
                                                                                              Printed name and title

$WWHVWHGWRPHE\WKHDSSOLFDQWE\7HOHSKRQH )DFH7LPH SHU)HG5&ULP3 G DQG
                                                                                                       Digitally signed by Bruce E.
                                                                             Bruce E. Reinhart Reinhart
Date:                                                                                          Date: 2024.06.15 17:48:05 -04'00'

                                                                                                Judge’s signature

City and state:                      West Palm Beach, FL                         Bruce E. Reinhart, U.S. Magistrate Judge
                                                                                              Printed name and title
Case 9:24-cr-80101-DMM Document 1 Entered on FLSD Docket 06/17/2024 Page 3 of 8



                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Gregory Hoffman, first being duly sworn, do hereby depose and state as follows:

       1.      I am currently a Special Agent with the Federal Bureau of Investigation and have been

so employed since March 2016. Following an initial five-month training period at the FBI Academy

in Quantico, Virginia, I was assigned to the Violent Crime Squad in the Palm Beach County Resident

Agency where I have worked since August 15, 2016. I have been involved in the investigation of

various criminal violations including traditional narcotics trafficking, Dark Web narcotics trafficking,

bank robberies, interstate stalking, violent criminal gangs, and various other criminal violations.

       2.      Prior to working as an FBI agent, I worked as a prosecutor in the Nassau County

District Attorney’s Office for a period of approximately twenty-two months. Prior to that

employment, I worked in multiple internships concerning criminal and civil law enforcement on

behalf of various state and municipal governments in Virginia and New York.

       3.      This affidavit is based on your affiant’s personal knowledge and on information

provided to your affiant by other law enforcement officers and witnesses. Not all the facts known to

me have been included in this affidavit, but only such facts as are necessary to support a finding of

probable cause for the issuance of a criminal complaint charging defendant Daniel CRUZ with bank

robbery, in violation of Title 18, United States Code, Section 2113(a).

                                        PROBABLE CAUSE

       4.      On Wednesday, June 12, 2024, at 1238 hours, deputies with the Palm Beach County

Sheriff's Office were summoned to 120 North Dixie Hwy in reference to a bank robbery at the Wells

Fargo bank. An employee of the bank, WITNESS 1, called PBSO Communications and stated that

someone came to the window and asked for all the money. WITNESS 1 described the suspect as a

white or Hispanic male wearing dark clothing and a blue armband.
Case 9:24-cr-80101-DMM Document 1 Entered on FLSD Docket 06/17/2024 Page 4 of 8



       5.        A PBSO detective responded to the Wells Fargo at 120 North Dixie Hwy and observed

the following:     At 1353 hours, the PBSO detective met with the victim, and WITNESS 2 who

provided him with a sworn video statement. The statement was recorded using an assigned Axon

Body Worn Camera (BWC). In summary, WITNESS 2 advised that he/she was working at the bank

as a teller on window #3. WITNESS 2 noticed a Hispanic male later identified as Daniel CRUZ walk

towards him/her as he/she was doing something on his/her computer. CRUZ got close to his/her

window and told him/her to “open the drawer and give me the money.” WITNESS 2 looked around

and, per policy, attempted to walk away. CRUZ then raised his voice and told WITNESS 2 that if

he/she did not give him the money, he would kill the customer behind him. WITNESS 2 advised there

was a male behind the suspect asking for keys to the bathroom.

       6.        Due to this threat, WITNESS 2 opened the money drawer and gave CRUZ two one-

hundred dollar bills that were next to the fifty dollar bills. CRUZ then demanded the fifty dollar bills

as well. WITNESS 2 gave CRUZ the money through the small opening between the glass and the

counter. CRUZ then exited and walked out of the south door of the bank. WITNESS 2 advised that

at one point throughout the incident, he/she pressed the bank panic button. WITNESS 2 stated that

the suspect kept putting his hand on his side as if he had a weapon but that WITNESS 2 never saw

one. WITNES 2 described the suspect to be a white or Hispanic male, heavy set, bald, and unknown

color clothing with a blue armband on his arm.

       7.        WITNESS 1 also later provided the PBSO Detective a sworn video statement. The

statement was recorded using an assigned Axon Body Worn Camera (BWC). In summary, WITNESS

1 advised that he/she heard a noise and looked at WITNESS 2 who was pressing the panic button.

WITNESS 1 heard the suspect demanding that WITNESS 2 open the drawer and told him/her to hurry

up. WITNESS 1 then heard CRUZ say that he was going to hurt the branch manager. WITNESS 1

saw WITNESS 2 give CRUZ hundred-dollar bills and the suspect demanded 50s as well. WITNESS
Case 9:24-cr-80101-DMM Document 1 Entered on FLSD Docket 06/17/2024 Page 5 of 8



1 then pressed his/her panic button. A later official count conducted by bank staff determined that

CRUZ left the bank with approximately $1,000.00 in denominations of 2 one-hundred-dollar bills

and 16 fifty-dollar bills.

          8.    The bank security staff provided PBSO investigators with photo stills, including ones

of the suspect later identified as CRUZ and the vehicle he arrived in at/near the bank. Through further

investigation, DANIEL CRUZ was identified as a possible suspect. CRUZ matched the suspect

description in this case and has been previously arrested for robbery in the State of Florida, County

of Palm Beach. 9.       On Thursday, June 13, 2024, PBSO personnel produced three photo arrays

containing the images of six similar looking in individuals. PBSO personnel used CRUZ’s booking

photo from a December 2023 arrest. Each photo array included photos of five unrelated similar

looking individuals. Investigators presented the photo arrays to the witnesses in an empty office in

the bank with a solid door and glass window. Cruz was placed in a different position on each of the

arrays.

          9.    The first photo array was presented to WITNESS 1. WITNESS 1 was read the

instructions and he/she signed the instructions to indicate he/she understood. Investigative personnel

walked out of the office to allow WITNESS 1 to view the array. In less than a minute he/she called

the investigative personnel back. WITNESS 1 identified the subject in position number 3 which was

the position featuring CRUZ’s photo.

          10.   The photo array was also presented to WITNESS 2. WITNESS 2 was read the

instructions and indicated he/she understood by signed. Investigative personnel walked out of the

office to allow WITNESS 2 to view the array. In less than a minute WITNESS 2 indicated he/she

identified the suspect. WITNESS 2 identified the subject in position number 4 which was the position

featuring CRUZ’s photo.
Case 9:24-cr-80101-DMM Document 1 Entered on FLSD Docket 06/17/2024 Page 6 of 8



       11.     A photo array was also presented to a third witness, WITNESS 3. WITNESS 3 was

read the instructions and indicated he/she understood by signing. Investigative personnel walked out

of the office to allow WITNESS 3 to view the array. In less than a minute he/she indicated they had

identified the subject. WITNESS 3 identified the subject in position number 5 which was which was

the position featuring CRUZ’s photo.

       12.     On June 14, 2024, CRUZ was arrested on a Florida State arrest warrant. CRUZ was

brought back to Palm Beach Sheriff’s Office at Gun Club Road, West Palm Beach, Florida. CRUZ

was seated in an interview room with your affiant, and three PBSO detectives. A PBSO detective

read CRUZ his Miranda rights and CRUZ proceeded to provide a statement.                Among other

statements, CRUZ stated that he had robbed the Wells Fargo in Lake Worth on N. Dixie Highway on

June 12, 2024, in order to pay off a drug debt. CRUZ stated that he threatened individuals in the bank

in order to compel bank personnel to comply with his demands for money. CRUZ also provided

additional statements regarding other instances of other bank robberies he had committed, which

included the following four other incidents following the robbery on June 12:

               a.     CRUZ described robbing a bank on Congress Avenue on June 13, 2024. State

and federal investigators were already aware of and pursuing an investigation into a June 13 bank

robbery at Wells Fargo at 1662 Congress Avenue Palm Springs, FL – located in the Southern District

of Florida – committed by an individual matching Cruz’s physical description.

               b.     CRUZ described unsuccessfully attempting to rob a bank on Forest Hill Blvd.

on June 14, 2024. State and federal investigators were already aware of and pursuing an investigation

into a June 14 attempted bank robbery at PNC Bank located at 3989 Forest Hill Blvd. Palm Springs,

FL – located in the Southern District of Florida – committed by an individual matching Cruz’s

physical description. PNC Bank is an FDIC insured bank.
Case 9:24-cr-80101-DMM Document 1 Entered on FLSD Docket 06/17/2024 Page 7 of 8



               c.      CRUZ described robbing a bank on Forest Hill Blvd. on June 14, 2024 shortly

after his unsuccessful attempt. State and federal investigators were already aware of and pursuing an

investigation into a June 14 bank robbery at Wells Fargo located at 4300 Forest Hill Blvd. Palm

Springs, FL – located in the Southern District of Florida – committed by an individual matching

Cruz’s physical description.

               d.      CRUZ described robbing a bank on Jog Rd. later on June 14, 2024. State and

federal investigators were already aware of and pursuing an investigation into a June 14 bank robbery

at Truist Bank located at 4148 Jog Rd. Greenacres, FL – located in the Southern District of Florida –

committed by an individual matching Cruz’s physical description. Truist Bank is an FDIC insured

bank.

        13.    Wells Fargo is an FDIC insured banking institution. The Wells Fargo bank robbed by

CRUZ is located within the Southern District of Florida.

        14.    Based on the facts outlined above, your affiant believes there is a probable cause to

charge CRUZ with bank robbery, in violation of Title 18, United States Code, Section 2113(a).



                             AUGHT.
FURTHER YOUR AFFIANT SAYETH NAUGHT.

                                              ____
                                              __ ____
                                                   ____
                                                      ______
                                                        _________
                                                               ____________
                                                                         ____
                                                                            ________
                                                                                  ______________
                                              _______________________________________         ____
                                                                                                 _______
                                              G EGORY HOFFMAN
                                              GR
                                              GREGORY       HO
                                                            H  OFF
                                                                F MAN
                                              Special Agent, FBI


Sworn to me via Telephone-FaceTime by the
affiant in accordance with the requirements of
Fed. R. Crim. P 4(d) and 4.1 onsigned
                       Digitally this _____   day of June 2024.
                                       by Bruce
Bruce E.           E. Reinhart
                   Date: 2024.06.15 17:48:33
Reinhart
____________________________________
                   -04'00'
BRUCE E. REINHART
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF FLORIDA
Case 9:24-cr-80101-DMM Document 1 Entered on FLSD Docket 06/17/2024 Page 8 of 8




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

 Defendant's Name:       Daniel Cruz

 Case No: 24-8292-BER

 Count #: 1

 Bank Robbery, in violation of Title 18, United States Code, Section 2113(a)

 * Max. Term of Imprisonment: 20 years
 * Mandatory Min. Term of Imprisonment (if applicable): N/A
 * Max. Supervised Release: 3 years
 * Max. Fine: $250,000




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
